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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,            No.   2:15-CR-0190 GEB
12                Plaintiff,              ORDER
13         v.
14   George B. Larsen,
15                Defendant.
16
           The Court, through this Order, hereby authorizes counsel to
17
     furnish George B. Larsen, subsistence in the form of the
18
     reasonable cost of a hotel room for the duration of the trial
19
     which is scheduled to commence on November 28, 2017, including
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     arrival on November 26, 2017. This is authorized pursuant to 18
21
     U.S.C. § 3006A(e)(1) of the Criminal Justice Act which allows
22
     counsel to be reimbursed for any services necessary for adequate
23
     representation of indigent defendants. Counsel must, however,
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     provide proof of payment and all documentation as required for
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     any other expense under the Criminal Justice Act and the amount
26
     expended must be reasonable and is only to include hotel costs.
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     ///
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1        IT IS SO AUTHORIZED AND ORDERED.

2    Dated:   November 22, 2017

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